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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

  BRIAN HUDDLESTON,


                 Plaintiff,                        CIVIL ACTION No. 4:20CV447

                                                   JUDGE AMOS MAZZANT
                 v.

  FEDERAL BUREAU OF INVESTIGATION
  and UNITED STATES DEPARTMENT OF
  JUSTICE,


                 Defendants.


                DEFENDANTS’ UNOPPOSED MOTION FOR EXTENSION

        Defendants file this unopposed motion for extension of time to file a response to Plaintiff’s

 Motion to Substitute Parties [ECF 164] and Plaintiff’s Supplemental Motion for Interim Payment

 of Costs and Attorney Fees [ECF 165].

        On July 5, 2024, Plaintiff filed a Motion to Substitute Parties, making Defendant’s response

 due July 19, 2024. On July 8, Plaintiff filed a Supplemental Motion for Interim Payment of Costs

 and Attorney Fees. Defendants’ response to that motion is due on July 22, 2024. Defendants seek

 an extension up to and including Monday, July 29, 2024, to respond to both motions.

        This request for extension is not made for purposes of delay, but so that justice may be

 served. The undersigned is currently affected by nationwide computer issues and is unable to

 prepare responses. Defendants respectfully request an extension up to and including July 29, 2024,

 to file responses to Plaintiff’s motions. Plaintiff’s counsel has indicated that he is unopposed to

 this motion.




 Motion for Extension                                                                              1
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                                              Respectfully submitted,

                                              DAMIEN M. DIGGS
                                              UNITED STATES ATTORNEY

                                              /s/ James Gillingham
                                              JAMES GILLINGHAM
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on July 19, 2024, a true and correct copy of the foregoing document

 was filed electronically with the court and has been sent to counsel of record via the court’s

 electronic filing system.



                                              /s/ James Gillingham
                                              JAMES GILLINGHAM
                                              Assistant United States Attorney




                              CERTIFICATE OF CONFERENCE

        In compliance with Local Rule CV-7(h), undersigned counsel hereby certifies that

 I have conferred with plaintiff’s counsel, and he is unopposed to this motion.



                                              /s/ James Gillingham
                                              JAMES GILLINGHAM
                                              Assistant United States Attorney



 Motion for Extension                                                                          2
